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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                         CRIMINAL NUMBER:
                v.
                                                         1:18-cr-00032-2-DLF
 CONCORD MANAGEMENT AND
 CONSULTING LLC

         Defendant.


                              JOINT PRETRIAL STATEMENT

   Pursuant to the Court’s January 24, 2020 Scheduling Order, the parties hereby submit a joint

pretrial statement.

a) Joint Statement of the Case

       The parties submit the proposed joint statement of the case for the Court to read to

prospective jurors:

       Concord Management and Consulting LLC (“Concord”), a Russian corporate entity, is

charged in this case with conspiracy to defraud the United States in violation of 18 U.S.C. § 371.

Specifically, the government alleges that, from in or around 2014 to in or around January 2018,

Concord knowingly and intentionally conspired with others to defraud the United States by

impairing, obstructing, and defeating the lawful functions of the Federal Election Commission,

U.S. Department of Justice, and the U.S. Department of State, in monitoring, regulating, and

enforcing laws concerning foreign influence on and involvement in U.S. elections and the U.S.

political system.

       Concord has pleaded not guilty.

b) Estimate of the Number of Trial Days

       The government and the defense anticipate that the trial will last approximately four weeks.


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c) List of Outstanding Motions in Limine

        1.       Government’s Motion in Limine to Admit Documents (ECF 335-1)

        2.       Government’s Motion in Limine to Exclude Defense Exhibits (ECF 349)

        3.       On February 14, 2020, the Court deferred ruling on portions of the government’s

Motion in Limine to Preclude Improper Argument and Evidence (ECF 298), in particular whether

Concord may introduce evidence that the government has never interpreted or applied statutory

and regulatory provisions to conduct similar to that alleged in the indictment. ECF 340.

        4.       The government intends to file at least two additional pretrial motions, though

neither will be styled as a motion in limine. First, the government intends to move to permit one

of its witnesses to testify under a pseudonym. Second, the government intends to seek permission

for an FBI agent to sit at counsel table during the trial.

        5.       Concord intends to file at least one additional motion in limine to exclude evidence.

On February 28, 2020, more than seven weeks after the deadline to transmit its exhibit list and

copies of its exhibits, the government informed the undersigned counsel that it will be adding

another exhibit to its list.

        6.       Additionally, the government has indicated it will seek to introduce summaries of

voluminous records pursuant to Federal Rule of Evidence 1006. To date, the government has not

provided its proposed 1006 summaries to Concord. As a result, depending on when these

summaries are provided to Concord and what they contain, Concord may file a motion in limine

to exclude them as untimely.

d) List of Expert Witnesses

        The government does not intend to call an expert witness.

        Concord has not identified any expert witnesses. However, on December 6, 2019, the

government provided notice that it intends to call FBI Analyst Elizabeth Patrone at trial to


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introduce testimony regarding the Internet Protocol (“IP”) addresses used to access certain social

media accounts related to this case. See ECF 271 at 2. Concord reserves the right to object at trial

to Ms. Patrone’s testimony. Additionally, as noted above, the government has indicated that in

connection with Ms. Patrone’s testimony, it will seek to introduce summaries of voluminous

records pursuant to Federal Rule of Evidence 1006 but to date, has not produced them to Concord.

Concord informed the government that depending upon Ms. Patrone’s direct testimony, Concord

may call a witness to rebut any such testimony by Ms. Patrone as it relates to Internet Protocol

address records and related information.

e) List of Exhibits

        A copy of the government’s exhibit list is attached as Exhibit 1. Concord’s objections are

listed in the far right column. Concord reserves the right to supplement, modify or withdraw any

of the foregoing objections.

        A copy of Concord’s exhibit list is attached as Exhibit 2. The government’s objections are

listed in the far right column.1

f) Stipulations

        The parties have not agreed to any stipulations at this time.

g) Judicial Notice

        The government will request that the Court take judicial notice of certain WHOIS records

showing the registrants of IP addresses relating to Concord.

        Concord objects.




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 As explained in the government’s Motion in Limine to Exclude Defense Exhibits, in the absence
of a proffer from Concord as to the purpose for which its exhibits will be offered or the manner in
which they will be authenticated, the government reserves its right to raise objections to all of the
defense exhibits based on authenticity, hearsay, and relevance.


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Respectfully submitted,

TIMOTHY J. SHEA                           CONCORD MANAGEMENT AND
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